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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

JENISA ANGELES, on behalf of herself and all
others similarly situated,
        Plaintiff,

v.                                                          CASE NO.: 1:20-cv-7082
ADEN & ANAIS, INC.


        Defendant.
                                                        /

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       IT IS HEREBY AGREED TO by the Plaintiff and Plaintiff’s attorney, and the

Defendant, Aden & Anais, Inc. that whereas no party hereto is an infant, incompetent person

for whom a committee has been appointed or conservatee, and no person not a party has an

interest in the subject matter of the action, that the above entitled action against Defendant,

Aden & Anais, Inc. shall be and hereby is dismissed with prejudice and on the merits, without

costs, or disbursements, or attorney’s fees to any party pursuant to Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure, and that judgment of dismissal with prejudice may be

entered in the above entitled action pursuant hereto.


Dated: November 18, 2020                                       Respectfully Submitted,

                                                              /s/Mark Rozenberg
                                                              Mark Rozenberg Esq.
                                                              Stein Saks, PLLC
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                                                              Hackensack, NJ 07601
                                                              mrozenberg@steinsakslegal.com
                                                              Tel. 201-282-6500
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                                                              Attorneys for Plaintiff
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                                       Certificate of Service

        I hereby certify that on this date, I electronically filed this Notice of Voluntary Dismissal
using the CM/ECF system which will automatically send email notification of such filing to all
attorneys of record. I also emailed this Notice to all parties who have not made an appearance in
this case.


       This 18th day of November, 2020                Respectfully Submitted,

                                                      /s/ Mark Rozenberg
                                                      Mark Rozenberg
